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                                EXHIBIT A: CONSENT JUDGMENT

                           iN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

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   ASTRAZENECA PHARMACEUTICALS L?,
   ASTRAZENECA UK LIMITED, and
   ASTRAZENECA AB,

                          Plaintiffs,
             v.                                               Civil Action No. l:l$-CV-12051-RMB-KMW

   ACCORD HEALTHCARE, rNC.,

                          Defendant.
   “—--—--—-—---—_-—




                                        CONSENT JUDGMENT

                  AstraZeneca AB, AstraZeneca UK Limited, and AstraZeneca Pharmaceuticals

  LP (hereinafter collectively “AstraZeneca”), and Accord Healthcare, Inc. (hereinafter “Accord”),

  the parties in the above-captioned action, have agreed to terms and conditions representing a

  negotiated settlement of this action and have set forth those terms and conditions in a Settlement

  Agreement (the “Settlement Agreement”). Now the parties, by their respective undersigned

  attorneys, hereby stipulate and consent to entry ofjudgment and an injunction in this action as

  follows:
                                         /f
                  IT IS this..D day of Jj            201 8:

                  ORDERED, ADJUDGED AND DECREED as follows:

                  I.     This District Court has jurisdiction over the subject matter of the above

  action and has personal jurisdiction over the parties.

                  2.     As used in this Consent Judgment, (i) the term “Accord Product” shall

  mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Dnmg
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    Application No. 21 1689 (and defined in greater detail in the Settlement Agreement); and (ii) the

    term “Affiliate” shall mean, with respect to a Party, any entity or person that, directly or

   indirectly through one or more intermediaries, controls, is controlled by, or is under common

   control with such Party. for purposes of this definition, “control” means (a) ownership, directly

   or through one or more intermediaries, of(i) more than fifty percent (50%) of the shares of stock

   entitled to vote for the etection of directors, in the case of a corporation, or (ii) more than fifty

   percent (50%) of the equity interests in the case of any other type of legal entity or status as a

   general partner in any partnership, or(b) any other arrangement whereby an entity or person has

   the right to elect a majority of the board of directors or equivalent governing body of a

   corporation or other entity or the right to direct the management and policies of a corporation or

   other entity.

                   3.      Except as specifically authorized pursuant to the Settlement Agreement,

   Accord, including any of its Affiliates, successors and assigns, is enjoined from infringing

   United States Patent Numbers 6,774,122, 7,456,160, 8,329,650 and 8,466,139, on its own part or

   through any Affiliate, by making, having made, using, selling, offering to sell, importing or

   distributing of the Accord Product

                   4.     Compliance with this Consent Judgment may be enforced by AstraZeneca

   and Accord and their successors in interest, or assigns, as permitted by the terms of the

   Settlement Agreement

                   5.     This Court retains jurisdiction to enforce or supervise performance under

   this Consent Judgment and the Settlement Agreement.




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                   6.     All claims, counterclaims, affirmative defenses and demands in this action

   are hereby dismissed with prejudice and without costs, disbursements or attorneys’ fees to any

   party.


                                                                Renee Marie Bumb, U.SDJ.

   We hereby consent to the form and entry of this Order:


            s/John E. Flaherty                              s/Gurpreet Singh Walia

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